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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                              )
                          Plaintiff,              )
                                                  )   C.A. No. 25-CV-168-GBW
        v.                                        )
 KPLER HOLDING SA,                                )
                                                  )
                          Defendant.              )

                                            NOTICE OF SERVICE

        PLEASE TAKE NOTICE that on March 21, 2025, true and correct copies of: (i) Plaintiff’s

Responses and Objections to Defendant’s First Set of Interrogatories; (ii) Verification of Kelly

Loughery to Plaintiff’s Responses and Objections to Defendant’s First Set of Interrogatories;

(iii) Plaintiff’s Responses and Objections to Defendant’s Requests for Admission; and (iv)

Plaintiff’s Responses and Objections to Defendant’s First Requests for Production were served on

the following counsel via electronic mail:

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Dated: March 21, 2025




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